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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                       §              MDL NO. 2179
       “DEEPWATER HORIZON” in the                     §
       GULF OF MEXICO, on                             §              SECTION: J
       APRIL 20, 2010                                 §
                                                      §
                                                      §              JUDGE BARBIER
THIS DOCUMENT RELATES TO:                             §              MAG. JUDGE SHUSHAN
      Case No. 2:10-CV-04226                          §
      Oleander Benton, et al v.                       §
      Transocean Ltd., et al.                         §

                                             ORDER

        Considering the above and foregoing Motion to Dismiss With Prejudice;

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all matters in this

controversy filed by, OLEANDER BENTON, against any party including but not limited to

TRANSOCEAN LTD., TRANSOCEAN OFFSHORE DEEPWATER DRILLING, L.L.C.,

CAMERON INTERNATIONAL CORPORATION A/K/A CAMERON SYSTEMS

CORPORATION, HALLIBURTON ENERGY SERVICES, INC., BP EXPLORATION &

PRODUCTION, INC., BP PLC. and M-I L.L.C.,. be and the same are hereby dismissed and

discontinued, with full prejudice, each party to bear their own costs.


        SIGNED IN NEW ORLEANS, LOUISIANA, this _____ day of _____________,
2012.



                                              _________________________________________
                                                    HONORABLE CARL J. BARBIER
                                              UNITED STATES DISTRICT COURT JUDGE
